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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF WEST VIRGINIA FILED

UNITED STATES OF AMERICA, FEB 0 6 2020
U.S. DISTRICT COURT-WVND
Plaintiff, CLARKSBURG, WV 26301
Vv.
Criminal Action No. 1:20MJ20
RETA MAYS,

Defendant,

ORDER APPOINTING CJA PANEL ATTORNEY AS LEARNED COUNSEL

Upon receipt of written confirmation from an Assistant United States Attorney for the
Northem District of West Virginia, that Reta Mays is a potential target for prosecution of an
offense that may involve exposure to the death penalty; that Reta Mays qualifies for appointment
of counsel; and, after consultation with the Federal Defender for this District, counsel, David P,
Hoose, of 100 Main Street, Northampton, Massachusetts, Telephone (413) 586-4800, is hereby
APPOINTED and QUALIFIED to represent the defendant for this action as lead counsel learned
in the law applicable to capital cases pursuant to 18 U.S.C. § 3005.

The Clerk is directed to forward copies of this Order to the Defendant, the Federal

Defender Office, and the United States Attorney’s Office.

DATED: 2/@/20920 _

 

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THOMAS 8S. KLEEH
UNITED STATES DISTRICT COURT JUDGE
